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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


 STATE OF NEW YORK, et al. ,

                    Plaintiffs,

           v.                                         Civil Action No. 1:18-cv-06471-ER

 UNTED STATES
 DEPARTMENT OF JUSTICE, et al. ,

                    Defendants,



 CITY OF NEW YORK,

                    Plaintiff,

           v.                                         Civil Action No. 1:18-cv-06474-ER

 WILLIAM P. BARR, et al. ,

                    Defendants,



                           DEFENDANTS’ NOTICE OF MOTION

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in

Opposition to the Plaintiffs’ Motion for Partial Summary Judgment and in Support of the

Defendants’ Motion to Dismiss, or alternatively, Partial Summary Judgment, the Defendants’ Local

Civil Rule 56.1 Statement of Material Undisputed Facts, the Declaration of Nancy Trasande with

attached exhibits submitted by the plaintiffs, and the record previously filed in the above-referenced

cases, the United States Department of Justice and Attorney General William P. Barr, Defendants in

the matters styled above, jointly move this Court before the Honorable Edgardo Ramos, United

States District Court Judge in the United States District Court for the Southern District of New
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York, Thurgood Marshall United States Courthouse, Courtroom 619, 40 Foley Square, New York,

NY 10007, at a date and time to be determined by the Court, for an order granting dismissal of the

plaintiffs’ amended complaints under Fed. R. Civ. P. 12(b)(6) or summary judgment to the

defendants under Fed. R. Civ. P. 56.

                                                          Respectfully submitted,

                                                          JOSEPH H. HUNT
                                                          Assistant Attorney General

                                                          JOHN R. TYLER
                                                          Assistant Director

                                                         /s/ Daniel D. Mauler          .
                                                        DANIEL D. MAULER
                                                        Virginia State Bar No. 73190
                                                        Trial Attorney
                                                        U.S. Department of Justice
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                                                        (202) 616-0773 | (202) 616-8470 (fax)
                                                        dan.mauler@usdoj.gov
                                                        Counsel for Defendants


                                 CERTIFICATE OF SERVICE

      I certify that on April 12, 2019, I filed the foregoing document with the Clerk of Court via
the CM/ECF system, causing it to be served electronically on all counsel of record.

                                                              /s/ Daniel D. Mauler         .
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                                                             Counsel for Defendants




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